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                       UNITED STATES DISTRICT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00015-APM
                                  )
ROBERTO MINUTA,                   )
                                  )
                                  )
                 Defendant        )
                                  )



          DEFENDANT ROBERTO MINUTA’S NOTICE OF JOINDER
            REGARDING MOTIONS FILED BY CO-DEFENDANTS




                                  William L. Shipley
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                                  Attorney for Defendant




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       NOW comes Defendant, Roberto Minuta, by and through his counsel of record, William

L. Shipley, Esq., and respectfully requests provides Notice to this Court of his intention to adopt

and join the following motions filed by Co-Defendants in this matter:

   (1) Defendant Vallejo’s Motion to Dismiss Count One and to Strike Surplusage at ECF No.

       94,

   (2) Defendant Caldwell’s Motion to Change Venue at ECF No. 93,

   (3) Defendant Hackett’s Motion To Sever Count 14, as it relates to Count 13 against

       Defendant Munita at ECF No. 91, and

   (4) Defendant Hackett’s Motion to Dismiss Count 14, as it relates to Count 13 against

       Defendant Minuta at ECF No 90.

   The cited case law and arguments set forth by Co-Defendants Vallejo, Caldwell, and Hackett

in the above-specified motions apply to Defendant Minuta and the Counts alleged against him in

the Indictment. Allowing Mr. Minuta to join the motions made by Co-Defendants simplifies this

proceeding and eliminates delay.


Date: April 18, 2022                          Respectfully Submitted,



                                              /s/ William L. Shipley
                                              William L. Shipley
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                                              Attorney for Defendant




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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, April 18, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                     /s/ William L. Shipley
                                                     William L. Shipley




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